Case 2:18-mj-02960-DUTY Document 3 Filed 11/27/18 Page 1 of 1 Page |D #:173

AO 93 (Rev. 12/09) Search and Sei:ure Warrant (Page 2)

 

 

Return
Case No. .' Date and time warrant executed.' Copy of warrant and inventory left with:
2118-MJ-02960 November 8, 2018 at q.'mdm at residence

 

 

 

Inventory made in the presence of .'
No one present

 

Inventory of the property taken and name of any person(s) seized.'

[Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate
volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the

number of pages to the attachment and any case number appearing thereon.]
-3 various Sony play stations
-dominion and control documents
-green balistic helmet
-green balistic vest
-black duty belt
-Acer laptop (SN: 980012008197096)
-Black iPad (SN: F4KMN6OMFLMJ)
-Black kindle model X43Z6O (YJMO725)
-2 black thumb drives (Sgb and lgb capacities)
-l orange thumb drive
-l black electronic box with band
-l white box containing ANTRIM LASD Business cards
-LASD patches
-Letter from federal prison addressed to ANTRIM
-Sheriff issued clothing
-gray iPad (SN: DMPTlKBZHG§D)
-white iPhone (IMEI: 359229063935961)
-black iPhone (011743008395701)
-white iPhone (352002070497037)
-blue motorola cricket phone (351840097525681)
-black T-mbobile samsung phone (RSYQC96749T)
-4 green and yellow sheriff's badges
-Asus laptop (D7NOCV02349927A)
-silver revolver (replica)
-silver lower receiver
-drum magazine (.45 caliber)
-black glock BOX ONLY for glock 19 (SN: BABF422)
-MlZ pistol .380 caliber and one .380 extended magazine (unknown serial
number)
-Thompson .45 caliber with one .45 caliber drum magazine (unknown
serial number)
-Sprianield Savage Arms l2 gauge shotgun (unknown serial number)

 

'Blu@ duffle COl'ltainiDQ Und€t@rmin€d€ért®)@éd§tio}f (b§/~c$ffic€ilpi'€®ht:during the execution ofthe warrant)

 

 

l declare under penalty of perjury that I arn an ojj’icer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk’s O]j‘ice.

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l `E)€ecut\ing offcer 's signature

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-MTdTea-Fe§dan-a»nd, SA

 

Printed name and title

 

 

AUSAs: Lindsey Dotson (x4443), Joseph Axe|rad (x7964)

